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                  UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
________________________________________________________________________

Kelvin Lenar Lee,                             Court File No.: 15-cv-4272 (WMW/HB)

                    Plaintiff,
      v.
                                                 DEFENDANTS’ TRIAL BRIEF
Bryan Castle in his individual capacity
as an officer of the Minneapolis Police
Department and the City of
Minneapolis,

                    Defendants.




A.    Trial counsel for Defendant Bryan Castle:

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B.    Jury or Bench Trial: This case is to be tried by jury.

C.    Length of Trial: Defendant believes this trial will last between two and
      three days, including jury selection, all testimony and argument.

D.    Jurisdiction: Under 28 U.S.C. §1331, this Court has original jurisdiction to
      hear Plaintiff’s Count I, a claim under the 4th Amendment for excessive
      force, brought pursuant to 42 U.S.C. § 1983. Count I is the only
      operational claim in this lawsuit as Count II was dismissed through
      stipulation of the parties.




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E.    Facts:

      A Confidential Informant (CI) had told a Minneapolis Police Community

Response Team (CRT) investigator that two men, one of them matching the

description of Plaintiff, would be selling crack cocaine at the corner of 25th and

South Lyndale Ave. on May 30, 2014.         Officer Castle was part of a Police

surveillance and seizure operation set up to observe the transaction and pursue

and arrest the suspects should probable cause to arrest be developed. Officer

Castle went to the location in an unmarked car and took up a position of cover a

short distance from the identified corner. He waited there while others watched

the corner.

      Plaintiff was high on crack cocaine when he went to 25th and Lyndale that

day to perform drug transactions.     Plaintiff was observed standing near the

corner of 25th and Lyndale while using his cell phone repeatedly.          Police

observed a likely drug transaction with a red pickup truck when Plaintiff

approached the truck, reached into his trousers, then through the truck’s

window, and then counted money after the truck pulled away.




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      Five to ten minutes later, Plaintiff crossed Lyndale and got into a red, two-

door Mitsubishi. The vehicle soon turned left across four lanes of traffic and

drove through a convenience store parking lot. It then turned from the parking

lot eastbound onto 25th Street South. The driver matched the CI’s description of

Plaintiff’s accomplice.

      At that point, Officer Werner, the lead investigator on the case, ordered the

Mitsubishi stopped and the occupants arrested. Sergeant Jindra followed the

vehicle, and, at 25th and Harriet Ave. South, moved his unmarked car in front of

the Mitsubishi, forcing it to stop. Castle, also in an unmarked car, turned his

emergency lights on and pulled up behind the Mitsubishi, preventing escape.

The driver of the Mitsubishi put his car into reverse, and slowly backed up

towards Castle’s car, and eventually struck it.

      As the Mitsubishi rolled backwards, Plaintiff got out of the car quickly.

Castle was getting out of his unmarked squad as well, and identified himself,

and Plaintiff recognized that Castle was with the Police Department. Plaintiff

threw a bundle of what turned out to be crack cocaine toward the curb and

walked South on Harriet. Castle called out the drop of suspected contraband

and ordered Plaintiff to stop. Plaintiff instead began to run. Castle chased

Plaintiff on foot southbound on Harriet, and across the street near mid-block,




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where Plaintiff dropped another bundle of what turned out to be crack cocaine

on the street.

      Plaintiff never stopped running and, as he got to the sidewalk on the east

side of Harriet, Castle caught up to him and tackled Plaintiff to the ground so

that both men were face-down, with Castle above.

      Once on the ground, Plaintiff immediately started struggling to get up,

pushing up with both his hands, raising his neck and shoulders. When Plaintiff

pushed up, instead of striking Plaintiff, Castle used Plaintiff’s exposing of his

neck to move into a vascular neck restraint while using his weight to keep

Plaintiff down. Castle chose to use the vascular neck restraint because it was the

best option available to him. He was alone with the Plaintiff, half a block from

the stop, armed only with his hands and a firearm. Plaintiff was suspected of

selling drugs and had fled from police, and it was reasonable to assume Plaintiff

was armed. Castle needed to get Plaintiff under control as quickly as possible.

With the tools available to him, the neck restraint made sense. He did not want

to use deadly force, and the neck restraint avoided using hand, elbow, and knee

strikes that would have injured Plaintiff, and put Castle at risk as well.

      Once Castle placed his arm around Plaintiff’s neck, protecting Plaintiff’s

trachea in the wedge of his elbow, Castle applied pressure to both sides of

Plaintiff’s neck.   To Castle’s surprise, he soon heard Plaintiff snoring, and


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Plaintiff stopped resisting. As soon as he heard Plaintiff’s change in breathing

pattern, Castle released the pressure on Plaintiff’s neck, but kept him in the neck

restraint position. Moments after Castle released the pressure, the “snoring”

ceased and Plaintiff began struggling again.

      In response to Plaintiff’s renewed struggling, Castle applied pressure

again. Castle’s partner, Officer Karshbaum, arrived and the two were able to

handcuff Plaintiff with no additional force. Castle released the pressure as or

before he helped handcuff Plaintiff.

      Once the officers gained control over Plaintiff, he was breathing heavily,

sweating profusely and he would or could not sit up. Officers called for an

ambulance, and Plaintiff’s handcuffs were moved from back to front so he could

breathe easier.   After a few minutes, Plaintiff said he was “OK” and the

ambulance was cancelled. After officer told Plaintiff he was going to the precinct

for processing, he stated he had medical issues, that he went unconscious and

that he urinated himself.       Plaintiff asked for medical assistance, and an

ambulance was called again.       Plaintiff was transported to Hennepin County

Medical Center for treatment.

      11.49 grams of crack cocaine was found at the scene where Plaintiff

dropped it. On June 23, 2015, Plaintiff entered a plea of guilty to second degree




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possession of six grams or more of crack cocaine, a felony offense. Plaintiff has

exhausted all appeals of his conviction.

F.    Claims or Defenses:

      Count I – Unreasonable Seizure by Excessive Force by Bryan Castle

      The sole claim for trial in this matter is the claim of excessive force against

      Bryan Castle for his tackle and use of the vascular neck restraint on

      Plaintiff.

      Defenses:

         • Castle’s use of force was not excessive under the objective

             reasonableness standard outlined in Graham v. Connor, 490 U.S. 386,

             397 (1989).

         • Even if the Jury determined that Castle committed a constitutional

             violation, Castle is entitled to qualified immunity for his use of force

             as it was not clearly established at the time that he could not tackle a

             fleeing suspect, and use a vascular neck restraint on the suspect as

             he continued to struggle.

         • Plaintiff has failed to mitigate his damages, if any.

         • Plaintiff’s claimed damages were not caused or contributed to by the

             allegedly unlawful actions of Bryan Castle.




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           • Plaintiff’s damages, if any, were caused by, or contributed to by

              Plaintiff’s negligent, intentional or criminal acts, acts for which

              Plaintiff has pled guilty to felony charges for.

G.    Unresolved Issues:

      a.      The City of Minneapolis should be removed from any caption on
              documents provided to the Jury.

      Given that the City of Minneapolis is no longer a party to this lawsuit, the

City requests that it be removed from the caption and any documents provided

to the Jury. The same principles that underlie the Fed. R. Evid. 411 prohibition

introduction of evidence of the existence of liability insurance apply to removing

the City from the caption viewed by the Jury. Listing Minneapolis as a defendant

risks informing the jury of the existence of indemnity for Castle, and makes a

verdict against him more likely. The parties have discussed this request, and

Plaintiff has agreed to the City’s request to remove the City from the caption

visible to the jury.

      b.      Bryan Castle did not use excessive force.

      Officer Castle is entitled to have the excessive force claim against him

dismissed as his use of force was reasonable under the circumstances. Three

factors should be considered in determining whether an officer has reasonably

used force: (1) the severity of the crime at issue; (2) whether the suspect poses an

immediate threat to the safety of the officers of others; and, (3) whether the

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suspect is actively resisting arrest or attempting to evade arrest by flight. Graham

v. Conner, 490 U.S. 386, 396 (1989).

      An officer reasonably perceives a heightened risk of serious physical harm

when a suspect disobeys the officer's orders. See, e.g., Billingsley v. City of

Omaha, 277 F.3d 990, 993-94 (8th Cir. 2002) (failing to halt after being ordered to

stop multiple times). Likewise, an officer in pursuit of a felony drug suspect who

was a passenger in a car with a suspected drug dealer, could reasonably

conclude, without more, that the suspect is armed and dangerous, and engaged

in the same enterprise as the drug dealer: “Because weapons and violence are

frequently associated with drug transactions, it is reasonable for an officer to

believe a person may be armed and dangerous when the person is suspected of

being involved in a drug transaction.”       United States v. Bustos-Torres, 396 F.3d

935, 943 (8th Cir. 2005), see also State v. Lemert, 843 N.W.2d 227, 232 (Minn. 2014)

(evaluating the legality of a pat search the Supreme Court concluded that it is

objectively reasonable to believe that a passenger in a suspected drug dealer’s

truck is armed and dangerous).

      When considering these factors, courts should do so according to the

“perspective of a reasonable officer at the scene, rather than with the 20/20

vision of hindsight.” Graham, 490 U.S. at 396. The Court also noted that “[w]ith

respect to a claim of excessive force, the same standard of reasonableness at the


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moment applies: Not every push or shove, even if it may later seem unnecessary

in the peace of the judge's chambers, violates the Fourth Amendment. Id. at 397.

      The determination of whether the use of force was reasonable requires

“balancing the nature and quality of the intrusion on the individual's Fourth

Amendment interests against the countervailing governmental interests at

stake.” McKenney, 635 F.3d at 359. Furthermore, the calculation “must embody

allowance for the fact that police officers are often forced to make split-second

judgments--in circumstances that are tense, uncertain, and rapidly evolving--

about the amount of force that is necessary in a particular situation. Graham, 490

U.S. at 396-97. Thus, in analyzing Plaintiff's excessive force claim, the context of

the interaction between Officer Castle and Plaintiff must be considered.

      Castle was part of a drug enforcement team which went to 25th and

Lyndale to observe and arrest suspects in a suspected drug transaction. Plaintiff

matched the description of one of the suspects, and was observed engaging in a

suspected drug transaction. When the police attempted to apprehend him,

Plaintiff got out of the car, threw some drugs down and fled on foot. Castle

could reasonable assume that Plaintiff was armed and dangerous and intended

to evade capture for felony drug possession and/or sale. Castle ordered Plaintiff

to stop and ran after him. Plaintiff did not stop, and Castle was forced to tackle

him in order to slow his retreat. Castle was alone, and with Plaintiff struggling,


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his options seemed limited to grappling, striking, or using his firearm. When

Plaintiff pushed up, lifting his head and extending his neck, he provided Castle

with a better option. Castle encircled Plaintiff’s neck with an arm, and applied

pressure to the sides in the form of a vascular neck restraint. Plaintiff stopped

resisting and Castle heard what sounded like snoring. Castle let up, and Plaintiff

soon started resisting again, still trying to escape. Castle again applied pressure,

and, with the help of his partner, was able to handcuff Plaintiff. Neither time did

Castle intend to put Plaintiff to sleep.

      The Vascular Neck Restraint is an intermediate use of force that is

authorized and, under the totality of the circumstances, reasonable and not

excessive under the circumstances found here.           Likewise, the tackle was

reasonable and appropriate given Plaintiff’s action.

      This is a case of excessive force, not of false arrest and excessive force. As

Plaintiff pled guilty and was convicted of felony possession of cocaine related to

his arrest by Bryan Castle, Defendant will object to any testimony or argument

challenging the validity of Plaintiff’s arrest. Heck v. Humphrey, 512 U.S. 477, 486,

114 S. Ct. 2364, 2372, 129 L. Ed. 2d 383 (1994).

      c.     Motions in Limine:

      Defendant is bringing four motions in Limine. In order to work in good

faith towards resolution of the issues going to trial, the Parties have discussed


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their motions in Limine several times in the week before this filing. In those

discussions they have narrowed the issues, and found common ground where

they could. Defendant’s remaining motions in Limine concern the following

issues:

      1.    Motion in Limine No. 1, for an order prohibiting reference to, or

            evidence of the allegation from unavailable witness Josh Tetzloff

            that Defendant yelled “When I catch you I’m gonna fuck you up!” as

            the description of Tetzloff’s allegation is hearsay, as well as the

            allegation itself.

      2.    Motion in Limine No. 2, for an order prohibiting the testimony of

            Pastor Monica Delaurentis and others who were never disclosed

            during discovery.

      3.    Motion in Limine No. 3, for an order prohibiting the testimony and

            evidence of the opinions on causation of any injuries or conditions

            allegedly related to the events in this litigation as Plaintiff failed to

            provide the required disclosures under Fed. R. Civ. P. 26(a)(2)(c).




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     4.    Motion in Limine No. 4, for an order prohibiting the testimony of

           Clinical Psychologist Dr. Lisa Legrand, and evidence of Plaintiff’s

           mental condition, as Plaintiff has affirmatively stated in his

           interrogatory responses that he “has not placed his mental condition

           at issue in this lawsuit.”




Dated: September 1, 2017                SUSAN L. SEGAL
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